EXHIBIT 4

Student Declarations

Case 5:18-cV-00388-TES Document 28-4 Filed 11/14/18 Page 2 of 67

DECLARATION OF

l_, hereby declare and affirm the following:

1. l am over twenty-one (21) years of age and otherwise competent to

 

testify as to the matters set forth herein. l have personal knowledge of the matters

set forth herein.

2. I am a current student at §l`|g;s(_\.lg §g“g€|¢ in l;lb_{_£[\gg¢ ,

®c.¢ .(School, city, state)
3. lam enrolled in the l\.l ` `- l
program

4, Upon graduation, I will receive a C€V'l'l` lilC_Od'C,

5. l expect to complete my program in l|l(!f§

@lt)\ q

6. To pay for my education, l have utilized Federal student aid programs,

 

including SCl\e in v Sl\`.’p

7. (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cV-00388-TES Document 28-4 Filed 11/14/18 Page 3 of 67

8. If given the choice, I would choose to complete my degree at Virginia
College, as opposed to stopping my education and receiving a discharge of my
Student loans.

9. ln addition, I would like add the following:

‘ s f V\
Qll:~ \N\\acl- \l-l/um(lv_¢;;lin€.h._&é’_@_.m_££j_@l_o_d_l

911 jig oppnm.nlsj ja _ lb€_€!oox_…_ma_gb_[€§€
dn_~§.siw,¢_ixsj_CM

10. No one has promised or offered me anything in exchange for providing

 

 

this statement, l give it freely and voluntarily.

[Reminder of page intentionally left blank]

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Case 5:18-cV-00388-TES Document 28-4 Filed 11/14/18 Page 4 of 67

I declare under penalty of perjury that the foregoing is true and correct.

Dated:November l ,2018

 

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Case 5:18-cV-00388-TES Document 28-4 Filed 11/14/18 Page 5 of 67

 

l-, hereby declare and affirm the following:
1. I am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. l have personal knowledge of the matters

set forth herein.

 

2. l am a current student at -_~;.m&mm ammch in §_‘Q- q-§- `Q§g£gg ,
gun rim . (School, city, state)

3. I am enrolled in the \ ';wc>
program

4. Upon graduation, l will receive a (~_QP,`MQLL\

5. l expect to complete my program in gheth

6. To pay for my education, I have utilized Federal student aid programs,

including co §?n"t\_`?§ canal \mc.§\¢g
7. l./have not (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

MW§WM%MT&UO\

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8. If given the choice, l would choose to complete my degree at

§[3;:%;§3 9 College, as opposed to stopping my education and receiving a

discharge of my student loans.

9. ln addition, I would like add the following:

10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarinl

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Case 5:18-cV-00388-TES Document 28-4 Filed 11/14/18 Page 7 of 67

I declare under penalty of perjury that the foregoing is true and correct.

Dated: November CJ \ , 2013

 

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Case 5:18-cV-00388-TES Document 28-4 Filed 11/14/18 Page 8 of 67

 

DECLARA'I_IQN (_)_I
I_ hereby declare and affirm the following:
I. l am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. l have personal knowledge of the matters

set forth herein.
2. l am a current student at QJLSMM in §§ ga QL¢';,\»\

g¢*<" .
15 . (School, city, state)

3. l am enrolled in the D€UELL fl 55 § §CC»"|T

 

programl
4. Upon graduation, I will receive a f2[ 1243ng
er Z jr f?“
5. I expect to complete my program in ZO Cl

 

6. To pay for my education, I have utilized Federal student aid programs,

including 7,/,?//¢ [j gm 53 j, /UM §
7. Ihav@:`(;ircle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cV-00388-TES Document 28-4 Filed 11/14/18 Page 9 of 67

8. If given the choice,l I would choose to complete my degree at -\

..-"-- .¢‘

_________--- ' ---_-"

Brightwood college;;opposed to stopping my education and receiving a discharge

` `N._. ____--'-"

of my student loans.

9. ln addition, l would like add the following:

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`<l“ W?:// /125£:/¢)¢"!@./$/

 

 

 

10. No one has promised or offered me anything in exchange for providing

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this statement, I give it lieer and voluntarily z § 5 .

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 10 of 67

I declare under penalty of perjury that the foregoing is true and correct.

Dated: November l_, 2018

 

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 11 of 67

DECLARATION OF

    

 

I, hereby declare and affirm the following:
1. 1 am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein I have personal knowledge of the matters

set forth herein.

2. l am a current student at birmth in PC?f-f' w!` ‘1'7'1,
n "’CM l 63¢
'{Ll[ ab . (School, city, state)
3. lam enrolled in the ij U't-l"a..l lgl Ssl&iflflj

program.

4. Upon graduation, I will receive a Dl!$'lDleUL

uan aba

5. I expect to complete my program in §§ ZQQ)S

6. To pay for my education, I have utilized Federal student aid programs,

including fdic grants _},-U)pflé:`/?§ J(Ll/)claf§l/LM

 

7. I have/havo. (Cirele one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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8. If given the choice, l would choose to complete my degree at

Brightwood College, as opposed to stopping my education and receiving a discharge

nm n g paid c lane m ala r`-e<.®'€
f ystude tloan.L{f,S §Yl;?zdh+woodo@€k@€, 3 9

9. ln addition, l would like add the following:

TVHS U>lle@r, lis u)O/\ci»efM.TI/t@ teachers
flu/wl S°rafll are \/N@t helpful in Dl/Lr’ heedl§,

ll lowe mar hat ime-meers exp/rene horns/3
lowl' Duf beer cmol encourage us OuS

Sl’l/lolm+'é l'D 191 ¢Dm_e_. ‘i'l/u, )0£5+ we team faa _
“I l/wm.¢. - wm Ccn+-iou,e +0 recommend friends
10. w ne has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 13 of 67

I declare under penalty of perjury that the foregoing is true and correct.

Dated: November _i_, 2018

 

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 14 of 67

DECLARA'LION oF

, hereby declare and affirm the following:

  

am over twenty-one (2}) years of age and otherwise competent to
testify as to the matters set forth herein. l have personal knowledge of the matters
set forth herein.

2. l am a current student at `f‘rr r-\il-l;\;-,n:"_l in r""r unru=ll?l~nbr .
:l_l' {“f-“\'?[ .’" r¢"'l 'lid! t

. (School, city, state)

'jl’ "-| '(~; ill ".\""

   

 

 

 

 

-3. lamenrolledinthe if . i` -:§r."'
program-
4. Upon graduation, I will receive a
tl_i rt ;-"-1' ariz q ‘ _l.g
5. 1 expect to complete my program in
/'_ mmij

 

6. To pay for my education, l have utilized Federal student aid programs,
including " l .:5--.¢ .-.r in ii n 11 '-..r';`= er 4 ar ~rrr` .-'
7. l have/hav;rir_))(€ircle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 15 of 67

8. lf given the choice, l would choose to complete my degree at
Pr\¢’_]\~'l\c 1 i`-" 1
, ,r €oHege, as opposed to stopping my education and receiving a

discharge of my student loans.

9. ln addition, l would like add the following

 

 

 

10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 16 of 67

l declare under penalty of pte ury that the foregoing is true and correct

Dgted: Nnvernb¢r l , 2013

 

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 17 of 67

 

DECLARATIQN (_)f
I, __, hereby declare and affirm the fo'llowing:
l. l am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. l`have personal knowledge of the matters

set forth herein.

2, l am a current student at l`;; .n`r~t.,_.r.-T\ l\¢.r;L-,\.i in \Cl\rtr..rxu' 'nl..n .
\l j 1

f § . (Sclrool, city, state)

3. lam enrolled in the _l,_"_in;-_+»', wl 'l`r;r;_)"t.=

 

program.
4. Upon graduation, l will receive a ' __._v _(
l`_\\t\i\e'\\; _
5. l expect to complete my program in

 

6. To pay for my education, l have utilized Federal student aid programs,

including "ll\ "',r_ line ___m_ ___

l

7. l haveflgwe`nd§~,(€ircle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

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RFDDFTFD

Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 18 of 67

8. If given the choice, l would choose to complete my degree at

College, as opposed to stopping my education and receiving a

 

discharge of my student loans

9. in addition, l would like add the following:

 

 

 

 

10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 19 of 67

I declare under penalty of perjury that the foregoing is true and correct

Dared; November l ,2018

 

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 20 of 67

 

DECLARATION OF
l, -, hereby declare and affirm the following:
]. l am over twenty-one (21) years of age and otherwise competent to.

testify as to the matters set forth herein. l have personal knowledge of the matters

set forth herein.

2. I am a current student at Q;' if&gi,og¢mg¢,,m. in f)j}mr|»:m;g,
'Ln 5\1'\>¢-(

Q g __ . (School, city, state)

3. lam enrolled in the 1\/\ r_(\\ ted CHS`S+¢\ mci

 

program
4. Upon graduation, I will receive a 5 591 coach
….\._L._t . ,. __ t;. <_F;\il"t;. .-ylr'\l\j

5. l expect to complete my program in }fz Q}§

 

6. To pay for my education, I have utilized Federal student aid programs
including QQ ll C\f colt * __Srlud€,t\~.l" `c°vl\
7. l have/§iave_r-io) (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 21 of 67

8. lf given the choice, l would choose to complete my degree at
inbii\v-|a£' .
BY*'°’“+WOO¢ C*w¢-' -Geliege; as opposed to stopping my education and receiving a
discharge of my student loans.

9. ln addition, l would like add the following:

 

 

 

 

10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 22 of 67

l declare under penalty of perj ury that the foregoing is true and coITeCt.

Dated: Novembcr _fl. 2018

_______’

 

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 23 of 67

DECLARATION OF

   

, hereby declare and affirm the following:

  

h

l. I am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein l have personal knowledge of the matters

Set forth herein.

 

 

n l l ,
2. I am a current student at *‘,` "`\- ' in t ,.l=j"\u ,
” 3

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3. lanienrolled in the l \t `i\_(:(.\._"t l "`\‘%‘~,i`t`;,~\r;_gu_\;-’
program.

4. Upon graduation, l will receive a t t `.‘\! .."J\.CL

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g;\ l\\t-.' \. __ _\‘~s~~\ ";_i\ .-.".

 

 

l t
5. l expect to complete my program in \3\_"\\*1"§!`\_/

6. To pay for my education, l have utilized Federal student aid programs,

 

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including ll i.l L ' . ibid 5-,, _)lt lai ill ll L tl\\
7, l have/have not (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 24 of 67

If given the choice, l would choose to complete my degree at

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" ?')(\¢ \"S'
31 *~»,t\§, C-ollege, as opposed to stopping my education and receiving a

discharge of my student loans.

9. In addition, l would like add the following:

 

 

 

 

 

10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 25 of 67

l declare under penalty of pte ury that the foregoing is true and correct.

Dated: November , 2018

 

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 26 of 67

 

DECLARATION_QF
l, __, hereby declare and affirm the following:_
l. l am over twenty-one (Zl) years of age and otherwise competent to

testify as to the matters set forth hereinl l have personal knowledge of the matters
set forth hereinl
2. I am a current student at edith hid/dod in p/¢’ ligth
. (School, city, state)
3. lam enrolled in the L" ,’\;' 'f D( {-"l'

program

4. Upon graduation, I will receive a l'Ot’V\_{»‘l/llrl'

l/clu/vfl/_»\n ,_,__QC';_\:"-ir_-; m_______-
5. l expect to complete my program in \)[,{Y\Wf\l ZOH

6. 'l`o pay for my education, l have utilized Federal student aid programs,

including i)¢'!l' 5`5;\“.'4_1 y zim-lain loud
7. l have@(€ircle one that applies) received student aid in excess

 

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 27 of 67

8. if given thc choice, I would choose to complete my degree at
_B[LSM_ College, as opposed to stopping my education and receiving a
discharge of my student loans.

9. in addition, l would like add the following:
'lr@v,ltar off 1/""\>_/ linda/rla§ala owl i/M.-.',, L,,,_¢,,(
Who'~ lamb mr -lh¢ C.»<,/_U/cl. F- am elicit iv

[/tmlw; ¢lwwl fill flra f'/w'lr/l’(el‘) fw§l”l{

 

 

10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 28 of 67

l declare under penalty of perjury that the foregoing is true and correct.

Dated: November l , 2018

 

 

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 29 of 67

 

I, , hereby declare and affirm the following:

 

l. l am over twenty-one (2]) years of age and otherwise competent to
testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

2. l am a current student at _\_[;`5%}"9]0` §`Qlla§jg in mw

gm § ' ,_¢ . (School, city, state)

3. I am enrolled in the C\ ‘,\_`\ §‘U».”U\) quts (..\ f l,.l`i{\

‘J

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program.
4. Upon graduation, l will receive a f Q{-§i»(§(~€,\-l.g
`l 0 Q \__l\`\(\&{ "'\
\)
5. l expect to complete my program in
differ 590 l_Ct`
Y/ f'
To pay for my education, I have utilized Federal student aid programs,
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including ll"i `\Q_ A '(:t:{\(l l flag
\ (J
7. l have ve no (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 30 of 67

8. If given the choice, I would choose to complete my degree at

gill-6 ,‘Q`{ cg College, as opposed to stopping my education and receiving a

discharge of my student loans.

9. In addition, l would like add the following:

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10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-4 Filed 11/14/18 Page 31 of 67

l declare under penalty ofper`u

  

Dated: November j , 2018

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 32 of 67

 

DECLARATION OF
I, -, hereby declare and afinn the following:
l. I am over twenty»one (21) years of age and otherwise competent to

testify as to the matters set forth herein. l have personal knowledge of the matters

set forth herein
2. l am a current student at \/htjn, ma Cd'[lz§¢ in cit reem‘b¢rb ,

g {(": . (Sehool, city, state)

3. l am enrolled in the _r,Q/;/!!A H£[d }Q&l$")¢l’l-/¢f 1576€ /020 14

program.

4. Upon graduation, I will receive a 19 dl S'H' {»!
(’t !hl/”\tale

5. I expect to complete my program in ffzé`l/Ch
20/ Cl __-

6. To pay for my education, l have utilized F ederal student aid programs,

including //%Lc Lr/ l?/rv»zlf/h:’j\F

7. I hav-ircle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 33 of 67

8. If given the choice, I would choose to complete my degree at Virginia
College, as opposed to stopping my education and receiving a discharge of my

student loans. 735

9. lo oddiiioo, 1 would liko odd too following
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/&[L/Mlldm ii L\/l/M'l' I hawk/l dl_/?L 014 `/'/17/]' §`C/')W/.

10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarilyl

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Case 5:18-cv-OO388-TES Document 28-4 Filed 11/14/18 Page 34 of 67

l declare under penalty of perjury that the foregoing is true and correct

Dated:November f ,2018

 

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Case 5:18-cv-OO388-TES Document 28-4 Filed 11/14/18 Page 35 of 67

DECLARATI N OF

 
  

 

l, ereby declare and affirm the following:
1. I am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein. GN hwm)ql
2. l am a current student at Mn nmg§})%,
Q& . (Sohool, city, state)
3. lam enrolled in the 05 _)l’ r jj

program.

4. Upon graduation, I will receive a &L'§'S L§SQ(f,¢`Q;-l@
m_§iz£€d`llli_£@$ondldp%slfj mae
5. I expect to complete my program in [ZQ £jb££ di
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ton Lfii

6. To pay for my education, l have utilized F ederal student aid programs,
including § f Q fT'l' 3 §§ fide l /;l fin 3 -
7. Iehave not (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

GMDWB&l

RFDAFTFD

Case 5:18-cv-OO388-TES Document 28-4 Filed 11/14/18 Page 36 of 67

8. If given the choice, l would choose to complete my degree at
Brightwood Career institute as opposed to stopping my education and receiving a

discharge of my student loans.

9. ln addition, I would like add the following:

  

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dl_jw__i§_ '/W-ilf`dr'"\d'i€ nsf wle fm l yz¢;],IfILd/l
alien mandate ma redact/ih m .

10. No one has promised or offered me anything m exchange for providing

 

this statement, l give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-4 Filed 11/14/18 Page 37 of 67

I declare under penalty of perjury that the foregoing is true and correct

Dated: November l , 2018

 

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Case 5:18-cv-OO388-TES Document 28-4 Filed 11/14/18 Page 38 of 67

 

DECLARATION OF
I, _____, hereby declare and affirm the following:
1. l am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein

2. l am a current student at _Ezggm___ in Hg§[l§m,£g ,
l§,{]n§¥lwig . (School, city, state)

3. Iamenrolledinthe m€Oi\Cal @`illio§ and Cotiingi

program

4. Upon graduation, I will receive a illipigm

5. l expect to complete my program in t _A-ng_| [f{ 2913

 

 

6. To pay for my education, I have utilized Federai student aid programs,

including @ra/r_i[$ and dl'l'il.e_ |V Lcnn‘$
7. l have.(Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-OO388-TES Document 28-4 Filed 11/14/18 Page 39 of 67

8. If given the choice, I would choose to complete my degree at
Brightwood Ca.reer Institute as opposed to stopping my education and receiving a

discharge of my student loans.

9. In addition, I would like add the following:
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gtle b igch `m file £mg§f md bgti: g§€g`;g= 5}¢}§,¢ l hg!g
intimidate nam.…id
_BB%M as tv€»lil

10. No one has promised or offered me anything in exchange for providing

 

this statement, l give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-4 Filed 11/14/18 Page 40 of 67

I declare under penalty of perjury that the foregoing is true and correctl

Dated: November fl , 2018

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Case 5:18-cv-OO388-TES Document 28-4 Filed 11/14/18 Page 41 of 67

DECLARATION OF -
I, -_, hereby declare and affirm the following:

l. I am over twenty-one (21) years of age and otherwise competent to

 

testify as to the matters set forth herein. l have personal knowledge of the matters

set forth herein.

2. I am a current student at Virginia College in Huntsville, Alabama.

3. Iam enrolled in the MMNW
4. Upon graduation, I will receive a L`ge\gmg

5. I expect to complete my degree in ,]gn_»,[g va
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6. To pay for my education, I have.utilized Federal student aid programs,

including _\ooas_ooL%ror~¥s

7. I - received student aid in excess of tuition and fees to
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8. lf given the choice, l would choose to complete my degree at Virginia

 

 

 

College, as opposed to stopping my education and receiving a discharge of my

student loans.

9. In addition, I would like add the following:

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Case 5:18-cv-00388-TES Document 28-4 Filed 1`1/14/18 Page 42 of 67

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No one has promised or offered me anything ln exchange for providing

this statement, I give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 43 of 67

I declare under penalty of perjury that the foregoing is true and correct.

Dated: October 3 l , 2018

 

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 44 of 67

l_, hereby declare and affirm the following:

l. I am over twenty-one (2]) years of age and otherwise competent to

 

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

2. I am a current student at Virginia College in Huntsville, Alabama.

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6. To pay for my education, I have utilized Federal student aid programs,

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8. If given the choice, I would choose to complete my degree at Virginia

College, as opposed to stopping my education and receiving a discharge of my

student loans.

9. In addition, l would like add the following:

 

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 45 of 67

 

 

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10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily.

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 46 of 67

l declare under penalty of perjury that the foregoing is true and correct.

Dated: October ,§l , 2018

 

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 47 of 67

 
    
 

DECLARATION O

, hereby declare and affirm the following:

   

l. l arn over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

 

 

 

2. I am a current student at Virginia College in Huntsville, Alabama.

3. l am enrolled in the B_]§_\_DQ&§_M|H!| fl .
4. Upon graduation, I will receive a l lO m

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6. To pay for my education, l have utilized Federal student_aid programs,

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offset living expenses, lncluding: q-_|"'O._@_@_é il Wl\‘l‘\£$'-B\“S . it ,

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College, as opposed to stopping my education and receiving a discharge of my

 

 

 

student loans.

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 48 of 67

 

 

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 49 of 67

I declare under penalty of perjury that the foregoing is true and correct.

Dated: October {2| , 2018

 

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 50 of 67

DECLARATION OF

 
  

hereby declare and affirm the following:

l. I am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. l have personal knowledge of the matters
set forth herein.

2. I am a current student at Virginia College in Huntsville, Alabarna.

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4. Upon graduation, I will receive a QQZDM@. //l’
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zo/?
6. To pay for my education, l have utilized Federal student aid programs,
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7. If given the choice, I would choose to complete my degree at Virginia
College, as opposed to stopping my education and receiving a discharge of my

student loans.

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 51 of 67

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this statement, l give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 52 of 67

l declare under penalty of perj ury that the foregoing is true and correct.

Dated:October 3/ ,2018

 

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 53 of 67

DECLARATION OF _
l, __, hereby declare and affirm the following:

1. I am over twenty-one (21) years of age and otherwise competent to

 

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

2. I am a current student at \I‘,£;E‘,Q`, g f:gl\ea._ in §§M_,
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6. To pay for my education, l have utilized Federal student aid programs,

 

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7. I@/have not (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 54 of 67

S. If given the choice, I would choose to complete my degree at Virginia
College, as opposed to stopping my education and receiving a discharge of my
student loans.

9. In addition, I would like add the following:

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10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

  

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 55 of 67

I declare under penalty of perjury that the foregoing is true and correct.

Dated: October §§ ,2018

 

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 56 of 67

, hereby declare and affirm the following:

 

1. l am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. l have personal knowledge of the matters
set forth herein.

2. l am a current student at in Jmlodl »

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6. To pay for my education, l have utilized F ederal student aid programs,
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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 57 of 67

S. If given the choice, l would choose to complete my degree at Virginia

College, as opposed o stopping my education and receiving a discharge of my

student loans.LP clinton 'lb flow fig C(YWOM C'C{}&.

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 58 of 67

I declare under penalty of perjury that the foregoing is true and correct.

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 59 of 67

DECLARATION OF _
I, _____, hereby declare and affirm the following:

l. I am over twenty-one (21) years of age and otherwise competent to
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set forth herein.

2. I am a current student at j[|_r_Q]_mQ_Cg_lhg£_ in , batson ,

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of tuition and fees to offset my living expenses, including:

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 60 of 67

8. If given the choice, I would choose to complete my degree at Virginia
College, as opposed to stopping my education and receiving a discharge of my

student loans.

9. In addition, I would like add the following:
Col| 'Hm

 

 

 

10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 61 of 67

I declare under penalty of perjury that the foregoing is true and correct.

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Dated: October 51 , 2018

 

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 62 of 67

DECLARATION OF

 

I, , hereby declare and affirm the following:

 

1. I am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. I have personal knowledge of the matters
set forth herein.

2. I am a current student at \|.`i%fta_ (¢.\iej§, in 14/10@{{€ ,

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 63 of 67

8. If given the choice, 1 would choose to complete my degree at
College, as opposed to stopping my education and receiving a
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10. lNo one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 64 of 67

I declare under penalty of perjury that the foregoing is true and correct.

Dated: Novernber l , 2018

 

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 65 of 67

DECLARATIO F
I, , hereby declare and affirm the following:

1. I am over twenty-one (21) years of age and otherwise competent to
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2. l am a current student at I/'.,/_:¢g'./tg é¢[lrg£ in H\¢-Ev‘.{(r. ,

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4. Upon graduation, I will receive a

 

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6. To pay for my education, l have utilized Federal student aid programs,
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7. ®/have not (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 66 of 67

8. If given the choice, I would choose to complete my degree at

1559 »,n'm College, as opposed to stopping my education and receiving a
discharge of my student loans.

9. In addition, I would like add the following:

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10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily "7'1} no

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Case 5:18-cv-00388-TES Document 28-4 Filed 11/14/18 Page 67 of 67

I declare under penalty of perjury that the foregoing is true and correct.

Dated: November l ,2018

 

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